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                                                 UNITED STATES BANKRUPTCY COURT
                                                          DISTRICT OF CONNECTICUT

                            In re:                                                       Case No.: 23-30944 (AMN)

                                     HEATHER ANN O’BRIEN TRECIOKAS                       Chapter: 7

                                                            Debtor.                      ECF No. 12
                            ________________________________________/


                                                           CERTIFICATE OF SERVICE


                                     In accordance with the applicable provisions of Federal Rules of Bankruptcy

                            Procedure 9013, the undersigned certifies that on the 21ST day of December, 2023,

                            the following documents were served on the U.S. Trustee and all appearing parties

                            via the court’s electronic filing system, and via USPS First-Class Mail on the parties

                            listed in section 2 below:

                             1. Documents Served:

                                     1. Debtor’s Amended Schedules E/F;

                                     2. Debtor’s Amended Declaration About an Individual Debtor's Schedules
                                        (Official Form 106Dec); and,

                                     3. Debtor’s Amended List of Creditors (Creditor Matrix).

                             2. Parties Served via First Class Mail:

                                        HARTFORD PARKING AUTHORITY
                                        ATTN: JILL TURLO, CEO
                                        11 ASYLUM ST. # 2
                                        HARTFORD, CT 06103


WILLCUTTS & HABIB LLC
 100 PEARL ST., 14TH FLR.
HARTFORD, CT 06103-4500
   TEL: (860) 249-7071
   FAX: (860) 863-4625
  FIRM JURIS NO. 440514
                                                                         -1-
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                                 NEW JERSEY TURNPIKE AUTHORITY
                                 ATTN: DIRECTOR OF TOLLS
                                 1 TURNPIKE PLAZA
                                 WOODBRIDGE, NJ 07095-1229


                                 NEW JERSEY TURNPIKE AUTHORITY
                                 ATTN: DIRECTOR OF TOLLS
                                 PO BOX 5042
                                 WOODBRIDGE, NJ 07095-5042


                            Dated at NEW HAVEN, CONNECTICUT this 21st day of DECEMBER, 2023.




                                                                     _______________________________
                                                                     MICHAEL J. HABIB, ESQ. (CT29412)




WILLCUTTS & HABIB LLC
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  FIRM JURIS NO. 440514
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